         Case 1:21-cr-00175-TJK Document 28-1 Filed 03/17/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :
                                                :    CRIMINAL NO. 21-CR-175 (TJK)
             v.                                 :
                                                :
 ETHAN NORDEAN,                                 :
 also known as “Rufio Panman,”                  :
 JOSEPH BIGGS,                                  :
 ZACHARY REHL,                                  :
 CHARLES DONOHOE,                               :
                                                :
                   Defendants.                  :

                                           ORDER

       Before the Court is the government’s under seal and ex parte Motion to Unseal Superseding

Indictment and Related Documents. For the reasons stated in the motion, and for good cause

shown, the motion is GRANTED, and it is hereby

       ORDERED that the superseding indictment; the government’s motion continue

arraignment, filed on March 12, 2021; and the instant motion to unseal shall be UNSEALED and

placed on the public docket.

       SO ORDERED.



DATED:
                                                    TIMOTHY J. KELLY
                                                    United States District Judge
